
662 S.E.2d 558 (2008)
STATE of North Carolina
v.
Wayne Thomas JOHNSON.
No. 119P00-21.
Supreme Court of North Carolina.
April 30, 2008.
Wayne Thomas Johnson, Pro Se, for Johnson.
Daniel P. O'Brien, Assistant Attorney General, Amy C. Kunstling, Assistant Attorney General, Robert F. Johnson, District Attorney, for State of NC.

ORDER
Upon consideration of the application filed by Defendant on the 25th day of April 2008 in this matter for Writ of Habeas Corpus, the following order was entered and is hereby certified to the Superior Court, Alamance County:
"Denied by order of the Court in conference, this the 30th day of April 2008."
TIMMONS-GOODSON, J., recused.
